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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

SHAWN SHERMAN,
                         Plaintiff,
v.
                                               CASE NO: 8:16-CV-787-SCB-JSS
MEDICREDIT, INC.

                    Defendant.
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         JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE

      COME NOW, the Parties herein, by and through their undersigned counsel,

and pursuant to Fed. R. Civ. P. Rule 41(a)(1)(A)(ii) represent to the Court that this

matter has been amicably settled, and would request entry of a Final Order of

Dismissal with Prejudice as to the Complaint filed by Shawn Sherman against

Medicredit, Inc., with each party to bear their own costs and attorneys’ fees.

       DATED this 6th day of September, 2016.

s/ James S. Giardina                             s/ William J. Cantrell
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